Filed 8/27/24 In re C.H. CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 In re C.H.,                                                           B335048

 a Person Coming Under the Juvenile                                    (Los Angeles County
 Court Law.                                                             Super. Ct. No. 21CCJP03472)

 LOS ANGELES COUNTY
 DEPARTMENT OF CHILDREN
 AND FAMILY SERVICES,

           Plaintiff and Respondent,

           v.

 C.H. Sr.,

           Defendant and Appellant.


         APPEAL from orders of the Superior Court of Los Angeles County,
Philip Soto, Judge. Affirmed.
         Megan Turkat Schirn, under appointment by the Court of Appeal, for
Plaintiff and Appellant.
         Dawyn R. Harrison, County Counsel, Kim Nemoy, Assistant County
Counsel, and Peter Ferrera, Deputy County Counsel, for Defendant and
Respondent.
                              INTRODUCTION
      C.H., Sr. (father) appeals from the juvenile court’s order terminating
his parental rights with respect to his son, C.H., Jr. (child).1 Father argues
that the Los Angeles Department of Children and Family Services
(Department) failed to properly inquire into child’s Indian ancestry, as
required by the Indian Child Welfare Act (25 U.S.C. § 1901 et seq.) (ICWA)
and related state law. We conclude that the Department’s inquiry was
incomplete and conditionally reverse the juvenile court’s order.


              FACTS AND PROCEDURAL BACKGROUND
      Child was taken into protective custody on July 23, 2021, after the
paternal uncle with whom he was living attempted suicide. The Department
filed a dependency petition four days later. The petition alleged that father
had a history of substance abuse, was a current user of methamphetamine,
and had made an inappropriate plan for child’s care.
      In advance of the detention hearing, father’s counsel filed an ICWA-020
form, indicating that father had no Indian2 heritage. No such form was filed
by child’s mother, C.M. (mother), then or later. At the detention hearing, the
court found no “reason to know” child had Indian heritage, but ordered both
parents to keep “the Department, their Attorney and the Court” apprised of
any new information.


1     Child shares his father’s name. We refer to him as “child” to avoid
confusion. We intend no disrespect. Child’s mother, C.M., is not a party to
this appeal.

2     “[B]ecause ICWA uses the term ‘Indian,’ we do the same for
consistency, even though we recognize that other terms, such as ‘Native
American’ or ‘indigenous,’ are preferred by many.” (In re Benjamin M. (2021)
70 Cal.App.5th 735, 739, fn. 1.)

                                       2
      In August 2021, child was placed with his paternal aunt. In September
2021, the trial court sustained the Department’s petition, ordered child
removed from father’s custody, and directed that reunification services be
offered to both parents. Mother’s reunification services were terminated in
April 2022. Father’s reunification services were terminated in August 2023.
      Mother appeared, with counsel, at the hearing when father’s services
were terminated. The court asked if mother had any Indian heritage, or if
any family members might know of Indian heritage. Mother conferred with
counsel, and counsel answered in the negative. On December 13, 2023, the
court terminated parental rights for both parents. Father timely appealed.


                                    DISCUSSION
      ICWA exists “to protect Indian children and to promote the stability
and security of Indian tribes and families by establishing minimum federal
standards that a state court . . . must follow before removing an Indian child
from his or her family.” (In re Austin J. (2020) 47 Cal.App.5th 870, 881.)
ICWA defines “Indian child” to mean any unmarried person who is under 18
and is either (a) already a member of an Indian tribe or (b) both eligible for
membership in an Indian tribe and the biological child of a member of a tribe.
(25 U.S.C. § 1903(4).) California law adopts the ICWA definition. (Welf. &amp;
Inst. Code, § 224.1, subd. (a).)3
      Both the juvenile court and the Department have an ongoing duty to
inquire whether a child qualifies under that definition. (In re N.F. (2023) 95
Cal.App.5th 170, 176 (N.F.).) This duty applies in three phases: the initial




3     All future statutory references are to the Welfare and Institutions
Code, unless otherwise stated.

                                        3
inquiry, any further inquiry, and formal notice to the relevant tribe or tribes.
The initial inquiry is the phase at issue here.
      Upon initial contact with the child, the Department must ask those
involved if they have any information about the child’s heritage. (N.F.,
supra, 95 Cal.App.5th at p. 176.) If the Department takes the child into
temporary custody (as it did here), the department must inquire of “‘the child,
parents, legal guardian, Indian custodian, extended family members, others
who have an interest in the child, and the party reporting child abuse or
neglect.’” (Id. at p. 177, quoting § 224.2, subd. (b).)
      Father argues that the Department failed to interview any relatives of
either parent. The Department concedes the error but argues that it was
harmless. When this case was briefed, there was a split of authority
regarding the standard of review. The California Supreme Court has
recently resolved that split, and with it, this case.
      In re Dezi C. (Aug. 19, 2024, S275578) __Cal.5th __ (2024 WL 3853597at p. *1) holds that where the Department’s inquiry is inadequate,
conditional reversal is required. The matter must be returned to the trial
court and the Department must conduct the proper inquiry. (Ibid.) That
holding governs here.




                                 DISPOSITION
      The orders terminating parental rights are conditionally reversed. The
matter is remanded to the juvenile court. The court is to order the
Department to complete the required ICWA inquiry, supported by record
documentation. If the court subsequently determines that ICWA does not
apply, then the court shall reinstate the order terminating parental rights. If



                                         4
the court determines that ICWA applies, then it shall proceed in conformity
with ICWA and related California law.


     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                          ZUKIN, J.
     WE CONCUR:



     CURREY, P. J.



     COLLINS, J.




                                      5
